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                                                           Finalize for CM/ECF
                                       Pageid#: 4707
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA


   UNITED STATES OF AMERICA                              Action No.: 1:10CR00002-027

                       -vs-                              Date: April 13, 2010

                                                         Judge: James P. Jones
   BRANDON D. KINCER                                     Court Reporter. Bridget Dickert
                                        LIST OF WITNESSES
   Attorney                                                          Attorney
   Zachary T. Lee                                                     Daniel W. Fast



              PLAINTIFF/GOVERNMENT:                                      DEFENDANT:

   1.                                                    1.

   2.                                                    2.

   3.                                                    3.

   4.                                                    4.

PROCEEDINGS:
HEARING ON DEFENDANT'S OBJECTION TO REPORT AND RECOMMENDATION

11:20 a.m. Case called. All parties present and ready to proceed. Defendant has filed objections to U. S.
Magistrate Judge Sargent's Report and Recommendation on Motion to Dismiss the Indictment. Defendant's
counsel presented oral argument in opposition to the Report and Recommendation; government's counsel
responded. Court ruling: objections are overruled for reasons stated by Judge Sargent. The Report and
Recommendation is accepted, and the motion to dismiss is denied. Clerk is directed to docket this ruling.
Defendant's counsel stated that defendant intends to enter a guilty plea without a plea agreement on Monday,
April 19, 2010 in Abingdon, VA. Court recessed at 11:50 p.m.

Total time in court: 30 minutes

Deputy Clerk: Libby Sharp
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